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                   11
                        [additional counsel on signature page]
                   12

                   13                              UNITED STATES DISTRICT COURT

                   14                            NORTHERN DISTRICT OF CALIFORNIA

                   15                                   SAN FRANCISCO DIVISION

                   16
                        RICHARD KADREY, SARAH SILVERMAN,               Case No. 3:23-cv-03417-VC
                   17   CHRISTOPHER GOLDEN, MICHAEL
                        CHABON, TA-NEHISI COATES, JUNOT                STIPULATION AND [PROPOSED] ORDER RE:
                   18   DÍAZ, ANDREW SEAN GREER, DAVID                 EXTENSION TO RESPOND TO FIRST
                        HENRY HWANG, MATTHEW KLAM,                     CONSOLIDATED AMENDED COMPLAINT
                   19   LAURA LIPPMAN, RACHEL LOUISE
                        SNYDER, AYELET WALDMAN, AND                    Hon. Vince Chhabria
                   20   JACQUELINE WOODSON,

                   21      Individual and Representative Plaintiffs,   Trial Date: None
                                                                       Date Action Filed: July 7, 2023
                   22          v.

                   23   META PLATFORMS, INC., a Delaware
                        corporation;
                   24
                                                        Defendant.
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COOLEY LLP
ATTORNEYS AT LAW                                                                         STIP. AND [PROPOSED] ORDER
                                                                                  RE: EXTENSION TO RESPOND TO FCAC
                                                                                                    3:23-CV-03417-VC
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                    1             Pursuant to Federal Rule of Civil Procedure 6(b) and Civil Local Rule 6-1, Plaintiffs
                    2   Richard Kadrey, Sarah Silverman, Christopher Golden, Michael Chabon, Ta-Nehisi Coates, Junot
                    3   Díaz, Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise
                    4   Snyder, Ayelet Waldman, and Jacqueline Woodson (collectively, “Plaintiffs”) and Defendant Meta
                    5   Platforms, Inc. (“Meta” or “Defendant”) submit this Stipulation (“Stipulation”) to extend Meta’s
                    6   deadline to respond to the First Consolidated Amended Complaint (ECF No. 64) (“FCAC”) by nine
                    7   (9) days. The current deadline falls on New Year’s day, January 1, 2024, and with the extension,
                    8   the new deadline would be January 10, 2024. Good cause exists to grant this Stipulation, as
                    9   discussed below.
                   10         1.         Plaintiffs Richard Kadrey, Sarah Silverman, and Christopher Golden filed the
                   11   original Complaint (ECF No. 1) in this action on July 7, 2023 (“Kadrey Complaint”).
                   12         2.         On September 12, 2023, Plaintiffs Michael Chabon, Ta-Nehisi Coates, Junot Díaz,
                   13   Andrew Sean Greer, David Henry Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder,
                   14   Ayelet Waldman, and Jacqueline Woodson filed a separate complaint in Chabon et al. v. Meta
                   15   Platforms Inc., No. 3:23-cv-04663-DMR (N.D. Cal.) (the “Chabon Action”), which concerned
                   16   substantially the same parties, transactions, and events at issue as in the Original Complaint.
                   17         3.         On September 18, 2023, Meta filed a motion to dismiss (“Motion to Dismiss”) (ECF
                   18   No. 23) under Rule 12(b)(6) of the Federal Rules of Civil Procedure directed to all six claims in the
                   19   Kadrey Complaint.
                   20         4.         On November 20, 2023, the Court granted Meta’s Motion to Dismiss and permitted
                   21   Plaintiffs leave to amend certain claims within 21 days (i.e., by December 11, 2023) and ordered
                   22   Meta to respond to any amended complaint within 21 days thereafter (i.e., by January 1, 2024). (ECF
                   23   No. 56.)
                   24         5.         On December 5, 2023, the parties stipulated to consolidation of the Chabon Action
                   25   with this proceeding (ECF No. 60), which was granted by the Court on December 7, 2023. ECF
                   26   No. 62.
                   27         6.         On December 11, 2023, Plaintiffs filed the FCAC.
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                 STIP. AND [PROPOSED] ORDER
                                                                         1                RE: EXTENSION TO RESPOND TO FCAC
                                                                                                            3:23-CV-03417-VC
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                    1         7.       Due to holiday travel schedules and office closures, Meta seeks an extension of time
                    2   to evaluate the FCAC and prepare its response.
                    3         8.       Good cause exists for this request, as moving the response deadline will allow Meta
                    4   and its counsel, many of whom are traveling over the holidays, sufficient time to evaluate and
                    5   prepare a response to the FCAC.
                    6         9.       The new deadline requested will remain in advance of the Parties’ January 12, 2024
                    7   Case Management Conference, and no party will be prejudiced by the requested continuance.
                    8        10.       For the foregoing reasons, the parties hereby stipulate to and agree that, subject to
                    9   the approval of the Court:
                   10              a. Meta’s deadline to respond to the FCAC is extended to January 10, 2024;
                   11              b. In the event Meta files a motion in response to the FCAC (in lieu of an answer), the
                   12                  parties agree that Plaintiffs’ opposition to any motion filed by Meta in response to
                   13                  the FCAC is due on February 9, 2024 and Meta’s reply to any such opposition is
                   14                  due on February 23, 2024.
                   15

                   16   PURSUANT TO STIPULATION, IT IS SO ORDERED:
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                   18   Dated: _________, 2023
                                                                         HON. VINCE CHHABRIA
                   19                                                    UNITED STATES DISTRICT JUDGE
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COOLEY LLP
ATTORNEYS AT LAW                                                                                STIP. AND [PROPOSED] ORDER
                                                                          2              RE: EXTENSION TO RESPOND TO FCAC
                                                                                                           3:23-CV-03417-VC
                           Case 3:23-cv-03417-VC Document 66 Filed 12/22/23 Page 4 of 5



                    1   Dated: December 22, 2023                     COOLEY LLP
                    2
                                                                  By: /s/ Bobby Ghajar
                    3                                                 Bobby Ghajar
                                                                      Mark Weinstein
                    4                                                 Kathleen Hartnett
                                                                      Judd Lauter
                    5                                                 Colette Ghazarian
                    6                                                 LEX LUMINA PLLC
                                                                      Mark A. Lemley
                    7
                                                                     Attorneys for Defendant
                    8                                                META PLATFORMS, INC.
                    9

                   10   Dated: December 22, 2023                     JOSEPH SAVERI LAW FIRM, LLP
                   11
                                                                  By: /s/ Joseph R. Saveri
                   12                                                Joseph R. Saveri
                                                                     Cadio Zirpoli
                   13                                                Christopher K.L. Young
                                                                     Travis Manfredi
                   14                                                Kathleen J. McMahon
                   15                                                Matthew Butterick
                   16                                                Attorneys for Plaintiffs
                   17

                   18
                        Dated: December 22, 2023                     CAFFERTY CLOBES MERIWETHER &
                   19                                                SPRENGEL LLP

                   20
                                                                  By: /s/ Bryan L. Clobes
                   21                                                Bryan L. Clobes

                   22                                                 VENTURA HERSEY & MULLER, LLP
                                                                      Daniel Jerome Muller
                   23
                                                                     Attorneys for Plaintiffs
                   24

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COOLEY LLP
ATTORNEYS AT LAW                                                                      STIP. AND [PROPOSED] ORDER
                                                              3                RE: EXTENSION TO RESPOND TO FCAC
                                                                                                 3:23-CV-03417-VC
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                    1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)
                    2          I hereby attest that I obtained concurrence in the filing of this document from each of the

                    3   other signatories. I declare under penalty of perjury that the foregoing is true and correct.

                    4
                         Dated: December 22, 2023
                    5                                                         COOLEY LLP
                    6                                                          /s/ Bobby Ghajar
                                                                              Bobby Ghajar
                    7
                                                                              Attorneys for Defendant
                    8                                                         Meta Platforms, Inc.
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COOLEY LLP
ATTORNEYS AT LAW                                                                                 STIP. AND [PROPOSED] ORDER
                                                                          4               RE: EXTENSION TO RESPOND TO FCAC
                                                                                                            3:23-CV-03417-VC
